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              1      COOLEY LLP
                     MICHAEL G. RHODES (116127) (rhodesmg@cooley.com)
              2      TRAVIS LEBLANC (251097) (tleblanc@cooley.com)
                     BETHANY C. LOBO (248109) (blobo@cooley.com)
              3      KYLE C. WONG (224021) (kwong@cooley.com)
                     JOSEPH D. MORNIN (307766) (jmornin@cooley.com)
              4      101 California Street, 5th floor
                     San Francisco, CA 94111-5800
              5      Telephone: (415) 693-2000
                     Facsimile: (415) 693-2222
              6
                     DANIEL J. GROOMS (D.C. Bar No. 219124) (admitted pro hac vice)
              7      (dgrooms@cooley.com)
                     ELIZABETH B. PRELOGAR (262026) (admission pending)
              8      (eprelogar@cooley.com)
                     1299 Pennsylvania Avenue, NW, Suite 700
              9      Washington, DC 20004-2400
                     Telephone: (202) 842-7800
            10       Facsimile: (202) 842-7899

            11       O’MELVENY & MYERS LLP
                     MICHAEL R. DREEBEN (D.C. Bar. No. 370586 (pro hac vice pending)
            12       (mdreeben@omm.com)
                     1621 I Street NW
            13       Washington, D.C. 20006
                     Telephone: (202) 383-5300
            14
                     Attorneys for Plaintiffs
            15       WHATSAPP INC. and FACEBOOK, INC.

            16
                                                    UNITED STATES DISTRICT COURT
            17
                                                NORTHERN DISTRICT OF CALIFORNIA
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            19
                     WHATSAPP INC., a Delaware corporation,          Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                    DECLARATION OF TRAVIS LEBLANC IN
            21                                                       SUPPORT OF PLAINTIFFS’ REQUEST FOR
                                                                     JUDICIAL NOTICE
            22                        Plaintiffs,
                                                                     Date:      May 27, 2020
            23              v.                                       Time:      9:00 a.m.
                                                                     Courtroom: 3
            24       NSO GROUP TECHNOLOGIES LIMITED                  Judge:     Hon. Phyllis J. Hamilton
                     and Q CYBER TECHNOLOGIES LIMITED,
            25
                                      Defendants.
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  COOLEY LLP                                                                                     LEBLANC DECL. ISO
ATTO RNEY S AT LAW
 SAN FRA NCI S CO
                                                                1.                      REQUEST FOR JUDICIAL NOTICE
                                                                                         CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 56-2 Filed 04/23/20 Page 2 of 2



              1             I, Travis LeBlanc, declare:

              2             1.      I am a partner with the law firm of Cooley LLP and counsel for Plaintiffs WhatsApp

              3      Inc. and Facebook, Inc. in this matter. The information in this declaration is based on my personal

              4      knowledge of this matter and information I obtained following a reasonable investigation of the

              5      events described below. If called as a witness, I could competently testify to the truth of each

              6      statement.

              7             2.      Attached as Exhibit 1 is a true and correct copy of QuadraNet, Inc.’s (“QuadraNet”)

              8      Terms of Service as it appeared on January 29, 2019, archived by the Internet Archive at

              9      https://web.archive.org/web/20190129070813/https://www.quadranet.com/terms-of-service.

            10              3.      Attached as Exhibit 2 is a true and correct copy of the current version of QuadraNet’s

            11       Terms of Service, which state that they went into effect on March 4, 2020, available at

            12       https://www.quadranet.com/terms-of-service.

            13              I declare under penalty of perjury that the foregoing is true and correct. Executed at

            14       Washington, D.C. on the 23rd day of April, 2020.

            15
                                                                    /s/ Travis LeBlanc
            16                                                      Travis LeBlanc
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  COOLEY LLP                                                                                           LEBLANC DECL. ISO
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                                                                      2                       REQUEST FOR JUDICIAL NOTICE
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